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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       -against-                                     Case No. S4 23-cr-490 (SHS)

ROBERT MENENDEZ et al.,

                   Defendants.



                                    NOTICE OF MOTION

       PLEASE TAKE NOTICE that upon the declaration of Avi Weitzman, Esq., dated

November 27, 2024, the exhibits attached thereto, the declaration of Henry S. Finkelstein, dated

November 27, 2024, and the accompanying Memorandum of Law, Defendant Robert Menendez

(“Senator Menendez”), through his undersigned attorneys, respectfully moves this Court, before

the Honorable Sidney H. Stein, at the United States District Court for the Southern District of New

York, 500 Pearl Street, New York, New York, 10007, on a date and time to be designated by the

Court, for an Order granting Defendant’s Supplemental Motion for Vacatur and a New Trial

pursuant to Federal Rule of Criminal Procedure 33, or, at minimum, ordering discovery and an

evidentiary hearing to determine the scope of the government’s propriety and the prejudice caused

to Senator Menendez.

       PLEASE TAKE FURTHER NOTICE that, by Order of the Court (ECF No. 634), any

response shall be filed by December 6, 2024, and any reply shall be filed by 5:00 pm on December

10, 2024.




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Dated: November 27, 2024                 Respectfully submitted,



                                         By: /s/ Adam Fee
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